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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MISSOURI
                                     EASTERN DIVISION

UNITED STATES OF AMERICA,                            )
                                                     )
                       Plaintiff,                    )
                                                     )         No. S5-4:15 CR 404 HEA
               v.                                    )
                                                     )
MICHAEL GRADY,                                       )
                                                     )
                       Defendant.                    )


            GOVERNMENT’S MOTION FOR LEAVE TO FILE A SURREPLY

       COMES NOW the United States of America by and through its attorneys, Sayler A.

Fleming, United States Attorney for the Eastern District of Missouri, and Michael A. Reilly,

Assistant United States Attorney for said District, and in support of its Motion for Leave to File a

Surreply, states as follows:

       On March 1, 2021, the Defendant filed a reply to the Government’s Response (DCD

3067), in which Defendant raises new arguments. The United States requests leave of this Court

to file a brief surreply on or before March 5, 2021. The surreply is intended to briefly address the

arguments raised in Counsel’s Reply.

                                                         Respectfully submitted,

                                                         SAYLER A. FLEMING
                                                         United States Attorney

                                                         /s/ Michael A. Reilly
                                                         MICHAEL A. REILLY, #43908MO
                                                         Assistant United States Attorney
                                                         111 S. Tenth Street, Room 20.333
                                                         St. Louis, MO 63102
                                                         (314) 539-2200


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                               CERTIFICATE OF SERVICE

       I hereby certify that on March 2, 2021, the foregoing was filed electronically with the
Clerk of the Court to be served by operation of the Court=s electronic filing system upon the
counsel of record.


                                                  /s/ Michael A. Reilly
                                                  MICHAEL A. REILLY, #43908MO
                                                  Assistant United States Attorney




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